Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 1 of 9




                       EXHIBIT E
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 2 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 3 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 4 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 5 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 6 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 7 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 8 of 9
Case No. 1:23-cv-02405-SKC-TPO   Document 19-6   filed 01/02/24   USDC Colorado
                                  pg 9 of 9
